                       Case 6:23-bk-11535-MH         Doc 166 Filed 12/28/23 Entered 12/28/23 17:17:00             Desc
                                                      Main Document    Page 1 of 3


                         1   David B. Shemano (State Bar No. 176020)
                             dshemano@shemanolaw.com
                         2   SHEMANOLAW
                             1801 Century Park East, Suite 2500                        FILED & ENTERED
                         3   Los Angeles, CA 90067
                             Telephone: (310) 492-5033
                         4                                                                   DEC 28 2023
                             Counsel for the Official Committee of Unsecured
                         5   Creditors
                                                                                        CLERK U.S. BANKRUPTCY COURT
                                                                                        Central District of California
                         6                                                              BY craig      DEPUTY CLERK


                         7
                                                                                 CHANGES MADE BY COURT
                         8                             UNITED STATES BANKRUPTCY COURT
                         9                              CENTRAL DISTRICT OF CALIFORNIA
                        10                                        RIVERSIDE DIVISION
                        11
SHEMANOLAW




                        12   In re:                                      Case No. 6:23-bk-11535-MH
       L OS A NGELES




                        13   OKAYSOU CORPORATION,                        Chapter 11
                        14            Debtor and Debtor in Possession
                        15

                        16                                               ORDER CONVERTING CHAPTER 11 CASE
                                                                         TO CHAPTER 7
                        17
                        18                                               Hearing:
                                                                         Date:    December 19, 2023
                        19                                               Time:    2:00 p.m.
                                                                         Place:   Courtroom 301
                        20                                                        3420 Twelfth Street
                                                                                  Riverside, CA 9250
                        21
                        22
                        23

                        24
                        25
                        26
                        27

                        28
                       Case 6:23-bk-11535-MH         Doc 166 Filed 12/28/23 Entered 12/28/23 17:17:00               Desc
                                                      Main Document    Page 2 of 3


                         1
                         2
                         3

                         4          The motion of the Official Committee of Unsecured Creditors (the “Committee”)
                         5   appointed in the above-captioned case for Okaysou Corporation (the “Debtor”) for an order either
                         6   (1) appointing a chapter 11 trustee, or (2) converting the case to chapter 7 (the “Motion”) [Doc

                         7   136], came on for hearing before the Court on December 19, 2023, at 2:00 p.m. (the “Hearing”).
                         8   Appearances were made as reflected in the record of the Hearing.
                         9          Amazon Capital Services, Inc., and Amazon.com Services, LLC (collectively, “Amazon”)

                        10   filed a Joinder to the Motion [Doc 140]. The Debtor filed an Opposition to the Motion [Doc

                        11   145]. The Committee filed a Reply in support of the Motion [Doc 150]. Amazon separately filed
SHEMANOLAW




                        12   the Declaration of Michael J. Gearin regarding the Motion [Doc 153].
       L OS A NGELES




                        13          After consideration of the Motion, Joinder, Opposition, Reply, and Gearin Declaration,

                        14   and the arguments of counsel at the Hearing, and for the reasons set forth on the record at the
                        15   Hearing, it is hereby

                        16          ORDERED THAT:
                        17          A.      The bankruptcy case of Okaysou Corporation, Case No. 6:23-bk-11535-MH, is
                        18   hereby converted from chapter 11 to chapter 7 pursuant to 11 U.S.C. § 1112(b).

                        19          B.      The Debtor’s and debtor in possession’s authority to use cash collateral is

                        20   terminated effective December 19, 2023.
                        21          C.      Within 14 days of the date of this Order, the Debtor’s current debtor in possession
                        22   must file a schedule of unpaid debts incurred after commencement of the chapter 11 case.
                        23          D.      Within 30 days of the date of this Order, the Debtor’s current debtor in possession

                        24   must file and transmit to the United States Trustee a final report and account.
                        25          E.      Upon request, the Debtor’s current debtor in possession must turn over to the

                        26   chapter 7 trustee all records and property of the estate in its custody and control.
                        27          F.      Within 14 days of the date of this Order, the Debtor’s current debtor in possession

                        28   must file the statements and schedules required by FRBP 1019(1)(A) and 1007, if such

                                                                             -1-
                       Case 6:23-bk-11535-MH       Doc 166 Filed 12/28/23 Entered 12/28/23 17:17:00   Desc
                                                    Main Document    Page 3 of 3


                         1   documents have not already been filed.
                         2                                            ###
                         3

                         4
                         5
                         6

                         7
                         8
                         9

                        10

                        11
SHEMANOLAW




                        12
       L OS A NGELES




                        13

                        14
                        15

                        16
                        17
                        18

                        19
                        20
                        21
                        22
                        23

                        24   Date: December 28, 2023

                        25
                        26
                        27

                        28

                                                                      -2-
